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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MONTANA
                           BILLINGS DIVISION


BITCO GENERAL INSURANCE                            CV 21-63-BLG-SPW-TJC
CORPORATION,

                    Plaintiff,                     ORDER
           v.

WESCO OPERATING, INC., ST.
PAUL FIRE & MARINE
INSURANCE COMPANY, 4J WELL
SERVICE, INC., ST. PAUL
MERCURY INSURANCE
COMPANY, CT CONTRACTING,
INC., and SHARON M. TRONSTAD
and TROY D. O’CONNOR, as co-
personal representatives of The Estate
of Chad Leroy Tronstad,

                    Defendants.

      Plaintiff has filed a status report indicating that a settlement agreement is

being finalized between all parties and that the parties need more time to do so.

(Doc. 19.) Good cause appearing,

      IT IS HEREBY ORDERED that by December 1, 2021, the parties shall file

a stipulation to dismiss together with a proposed order dismissing the case.

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      If the parties are unable to finalize a settlement agreement by December 1,

2021, the parties shall submit a status report detailing the progress the parties have

made in finalizing the settlement agreement.

      IT IS ORDERED.

      DATED this 1st day of November, 2021.

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                                        TIMOTHY J. CAVAN
                                        United States Magistrate Judge
